Case 7:20-cv-00425 Document 186 Filed on 10/12/21 in TXSD Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

VS,
CIVIL ACTION NO, 7:20-cv-00425
4.587 ACRES OF LAND, more or less, in
STARR COUNTY, TEXAS; and
FLORENTINO LUERA,

On 0G0 409 On 6On OD 6Ot OD OG Uo Lo

Defendants.
FINAL JUDGMENT

The Court hereby renders final judgment in this case in accordance with Federal Rules of
Civil Procedure 54 and 58. Having considered the parties’ “Stipulation of Revestment,”! and
having determined that it warrants entry of this final judgment,? the Court ORDERS,
ADJUDGES, and DECREES that:

All property interests held by Defendant Florentino Luera as of December 17, 2020, in
Tract RGV-RGC- 1007, which is a 4.587-acre parcel of land particularily described in the United
States’ Schedules C and D,? together with all encumbrances thereof existing as of December 17,
2020, and all encumbrances since created and not otherwise discharged, are hereby RE-VESTED
in Defendant Florentino Luera.

The total sum of twenty-one thousand eight hundred seventy-four dollars ($21,874)

deposited by the United States,* together with any interest earned while on deposit in the registry

 

' Dkt. No. 184.

? Dkt. No. 185.

3 Dkt. No. 1-1 at 5-12.
4 Dkt. No. 11.

1/2

 
Case 7:20-cv-00425 Document 186 Filed on 10/12/21 in TXSD Page 2 of 2

of the Court, is ORDERED to be immediately disbursed to“F & A Officer, USAED, Fort Worth”
with a check notation referencing “Tract. No. RGV-RGC-1007,” at the following address:
Charanne Marshall
Finance and Accounting Officer, U.S. Army Engineer District
P.O, Box 17300
Room 3A37
Fort Worth, Texas 76102

This final judgment resolves all issues in this case. Each party to this proceeding is to bear
its own costs and fees. Any relief not expressly granted in this final judgment -is hereby DENIED.
All deadlines and conferences in this case are CANCELLED and any pending motion, request, or
other matter is DENLED AS MOOT. Execution may issue for this final judgment as allowed by
law. This case is terminated and the Clerk of the Court ts instructed to close the case.

IT IS SO ORDERED.

DONE at McAllen, Texas, this 12th day of October 2021.

MW Wor

Micaeh-A lvarez
United States District Judge

 

 

5 See 40 U.S.C. § 3116. Butsee 40 U.S.C. § 3114(c)(1).

2/2

 

 

 
